Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 1 of 12 Page ID #:1679


                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 21-5832-GW-PDx                                             Date      May 10, 2023
 Title             Travelers Commercial Insurance Company v. New York Marine and General Insurance
                   Company




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                 IN CHAMBERS - TENTATIVE RULING ON NEW YORK MARINE
                              AND GENERAL INSURANCE COMPANY'S MOTION TO
                              DISQUALIFY MAYNARD COOPER & GALE, LLP [106]


Attached hereto is the Court’s Tentative Ruling on the above-entitled Motion [106] set for hearing on
May 11, 2023 at 8:30 a.m.




                                                                                                  :
                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                    Page 1 of 1
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 2 of 12 Page ID #:1680




     Travelers Commercial Ins. Co. v. N.Y. Marine & Gen. Ins. Co., CV 21-5832-GW-(PDx)
     Tentative Ruling on Motion to Disqualify Maynard Cooper & Gale, LLP


             Defendant New York Marine and General Insurance Company (“NY Marine”)
     moves for the disqualification of Nicholas J. Boos (“Boos”) and the law firm of Maynard
     Cooper & Gale, LLP (“the Maynard Firm”)1 (collectively, “Counsel”) as counsel for
     plaintiff/counterdefendant Travelers Commercial Insurance Company (“Travelers”).
     Counsel substituted-in to this action on February 28, 2023. See Docket No. 104.
             NY Marine’s motion is based on the assertion that an attorney2 who previously
     worked for the law firm representing NY Marine in this action – McCormick, Barstow,
     Sheppard, Wayte & Carruth LLP (“the McCormick Firm”) – and who, while he worked
     at the McCormick Firm, performed work on, and was exposed to confidential/privileged
     information related to, the coverage dispute giving rise to this action, left the McCormick
     Firm and is now in the employ of the Maynard Firm. Specifically, while he was at the
     McCormick Firm, NY Marine asserts that Chipman:
             (1) Performed actual work for NY Marine on the coverage dispute with
             Travelers and their mutual insured out of which the present litigation
             directly arises; (2) received multiple emails specifically addressing
             confidential and privileged information pertaining to the underlying
             coverage dispute out of which this litigation directly arises, including facts
             bearing on NY Marine’s positions, as well as discussion of NY Marine’s
             legal analysis and strategy in connection with that dispute; (3) was party to
             numerous conversations with and between the undersigned counsel for
             NY Marine during which confidential facts, legal analysis and strategy
             regarding NY Marine’s position in the coverage dispute and this litigation
             were discussed; and (4) attended a February 23, 2022 dinner with the
             undersigned counsel and NY Marine’s Coverage and Litigation Counsel
             during which confidential facts, legal analysis and strategy concerning this
             litigation were discussed by all present.
     Docket No. 106-2, at 1:11-2:1; see also Declaration of Nicholas H. Rasmussen in Support
     of New York Marine and General Insurance Company’s Motion to Disqualify Maynard


     1
      The motion acknowledges the possibility, and the Opposition confirms as a fact, that Maynard Cooper &
     Gale, LLP is now known as Maynard Nexen, P.C.
     2
      The attorney in question is identified in Travelers’ Opposition as Matthew A. Chipman (“Chipman”).
     See, e.g., Declaration of Matthew A. Chipman in Support of Travelers Commercial Insurance Company’s
     Opposition to Motion to Disqualify, Docket No. 108-1. Chipman joined the Maynard Firm on April 11,
     2022, see id., ¶ 7, almost a year before Boos substituted-in as Travelers’ attorney in this case.


                                                        1
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 3 of 12 Page ID #:1681




     Cooper & Gale, LLP, Docket No. 106-4, ¶¶ 5-8; Declaration of James P. Wagoner in
     Support of New York Marine and General Insurance Company’s Motion to Disqualify
     Maynard Cooper & Gale, LLP (“Wagoner Decl.”), Docket No. 106-3, ¶¶ 7-9; Declaration
     of Graham A. Van Leuven in Support of New York Marine and General Insurance
     Company’s Motion to Disqualify Maynard Cooper & Gale, LLP, Docket No. 106-6, ¶¶ 3-
     5; Declaration of Ellen Fine in Support of New York Marine and General Insurance
     Company’s Motion to Disqualify Maynard Cooper & Gale, LLP, Docket No. 106-5, ¶ 7;
     Declaration of Ellen Fine in Support of New York Marine and General Insurance
     Company’s Motion to Disqualify Maynard Cooper & Gale, LLP, Docket No. 106-7, ¶¶ 3-
     4.
            Motions to disqualify counsel are decided under state law. See In re County of
     Los Angeles, 223 F.3d 990, 995 (9th Cir. 2000); see also C.D. Cal. L.R. 83-3.1.2
     (indicating that the Rules of Professional Conduct of the State Bar of California are
     adopted as the professional conduct standards in this District). NY Marine argues that
     not only does Chipman’s prior role/activity at the McCormick Firm prevent him from
     representing Travelers in this action, but that his current employment at the Maynard
     Firm automatically requires the entire Maynard Firm’s disqualification from representing
     Travelers in this matter, and renders any attempt by the Maynard Firm to screen Chipman
     irrelevant, under cases such as Kirk v. First Am. Title Ins. Co., 183 Cal.App.4th 776
     (2010), Henriksen v. Great Am. Sav. & Loan, 11 Cal.App.4th 109 (1992), Flatt v.
     Superior Court, 9 Cal.4th 275 (1994), and Meza v. H. Muehlstein & Co., Inc., 176
     Cal.App.4th 969 (2009). See Kirk, 183 Cal.App.4th at 814 (concluding that when a
     “tainted attorney was actually involved in the representation of the first client, and
     switches sides in the same case, no amount of screening will be sufficient, and the
     presumption of imputed knowledge [to the law firm where he/she now works] is
     conclusive”); Henriksen, 11 Cal.App.4th at 115 (stating that “[a]s a general rule in
     California, where an attorney is disqualified from representation, the entire law firm is
     vicariously disqualified as well” and that this is “especially true where the attorney’s
     disqualification is due to his prior representation of the opposing side during the same
     lawsuit,” while also noting that – at least as of that time – “the vicarious disqualification
     rules have essentially been shaped by judicial decisions” because the California Rules of


                                                   2
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 4 of 12 Page ID #:1682




     Professional Conduct did not specifically address the question); id. (concluding that trial
     judge “had no choice but to disqualify the entire firm” in “switching sides” case
     notwithstanding evidence of screening attorney in question “since the moment he arrived
     at the firm”); id. at 117 (“[W]here an attorney is disqualified because he formerly
     represented and therefore possesses confidential information regarding the adverse party
     in the current litigation, vicarious disqualification of the entire firm is compelled as a
     matter of law.”); Meza, 176 Cal.App.4th at 978-79 (citing Henriksen and stating that an
     ethical wall “will generally not preclude the disqualification of the firm” when individual
     attorney’s disqualification is due to his prior representation of the opposing side during
     the same lawsuit); cf. Flatt, 9 Cal.4th at 283 (“Where the requisite substantial relationship
     between the subjects of the prior and the current representations can be demonstrated,
     access to confidential information by the attorney in the course of the first representation
     (relevant, by definition, to the second representation) is presumed and disqualification of
     the attorney’s representation of the second client is mandatory; indeed, the
     disqualification extends vicariously to the entire firm.”).
                Travelers’ primary response to the motion – apart from discussing Chipman’s
     lack of memory of working on this matter while at the McCormick Firm and the Maynard
     Firm’s efforts to screen Chipman from this matter – is to assert that NY Marine relies on
     outdated standards as far as imputed disqualification of the Maynard Firm in its entirety
     is concerned.          In particular, Travelers argues that changes to California Rule of
     Professional Conduct 1.10 in 20183 have altered the necessary analysis for imputed


     3
         Rule 1.10, in pertinent part, now provides that:
           (a) While lawyers are associated in a firm,* none of them shall knowingly* represent a client when
                any one of them practicing alone would be prohibited from doing so by rule 1.7 or 1.9, unless
           ...
                (2) the prohibition is based upon rule 1.9(a) or (b) and arises out of the prohibited lawyer’s
                association with a prior firm,* and
                     (i) the prohibited lawyer did not substantially participate in the same or a substantially related
                     matter;
                     (ii) the prohibited lawyer is timely screened* from any participation in the matter and is
                     apportioned no part of the fee therefrom; and
                     (iii) written* notice is promptly given to any affected former client to enable the former client
                     to ascertain compliance with the provisions of this rule, which shall include a description of
                     the screening* procedures employed; and an agreement by the firm* to respond promptly to
                     any written* inquiries or objections by the former client about the screening* procedures.


                                                              3
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 5 of 12 Page ID #:1683




     disqualification, noting that the only two cases NY Marine relies upon that post-date
     these changes – Sierra v. Costco Wholesale Corp., No. 22-CV-01444-JSW, 2022 WL
     4454359 (N.D. Cal. Sept. 23, 2022) and Ramos v. Costco Wholesale Corp., No. CV 22-
     3579-MWF (AFMx), 2022 WL 18278604, at *2 (C.D. Cal. Nov. 9, 2022) – both
     undertake the analysis as it should now be done: consideration first of whether the
     individual lawyer is disqualified under Rule 1.94 before examining whether vicarious
     disqualification should apply (i.e., whether “the presumption of vicarious disqualification
     . . . has . . . been rebutted”). See Sierra, 2022 WL 4454359, at *4; Ramos, 2022 WL
     18278604, at *2; see also Klein v. Facebook, Inc., No. 20-CV-08570-LHK, 2021 WL
     3053150, at *4-8 (N.D. Cal. July 20, 2021). Travelers asserts that the current Rule 1.10
     language and these more-recent cases means there is no automatic disqualification of a
     prohibited lawyer’s new firm.
              At least in part this is the correct conclusion, Travelers further argues, because the
     revised Rule 1.10 requires a court to examine whether or not the particular prohibited
     lawyer “substantially participate[d]” in the matter in his or her earlier employment. In
     turn, Comment [1] to the current Rule 1.10 provides various factors that should be
     considered in determining whether previous participation was “substantial:” the lawyer’s
     level of responsibility, duration of participation, extent of advisement or personal contact
     with client, and exposure to material confidential information. As noted further infra, the
     Court would agree that, at least on the present evidentiary showing, it would not be
     possible for it to conclude that, using those factors, Chipman met the “substantial
     participat[ion]” standard while working at the McCormick Firm.
              NY Marine responds to this argument by noting that Travelers has only
     highlighted post-2018 cases – Sierra and Ramos – that deal with situations where the



     Cal. Rules of Prof’l Conduct 1.10(a)(2). Rule 1.9(a) provides that “[a] lawyer who has formerly
     represented a client in a matter shall not thereafter represent another person* in the same . . . matter in
     which that person’s* interests are materially adverse to the interests of the former client unless the former
     client gives informed written consent.*” Cal. Rules of Prof’l Conduct 1.9(a).
               It is noted that, in the above quoted rules, the asterisks appear in the original text and “[a]n asterisk
     (*) identifies a word or phrase defined in the terminology rule, rule 1.0.1.” See Footnote to Cal. Rules of
     Prof’l Conduct 1.10.
     4
      There appears to be no dispute here that at the very least Chipman is disqualified from representing
     Travelers in this case.


                                                             4
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 6 of 12 Page ID #:1684




     conflicted attorney previously represented the former client in other similar matters,
     whereas it has provided evidence that Chipman represented NY Marine and received NY
     Marine’s confidential information in this matter. While that appears to be an accurate
     distinction (and, in fact, neither Sierra nor Ramos cited to or quoted from Rule 1.10), the
     language of Rule 1.10 would suggest that it may not be dispositive.
              NY Marine argues that there is “nothing in [Rule 1.10 that] suggests that the Rule
     fundamentally alters the well-established California law that neither an attorney, nor their
     firm, may accept a representation adverse to a former client in the same matter where the
     attorney previously represented and obtained the former client’s confidential
     information.” Docket No. 109, at 2:3-7. But the Court does not understand how – absent
     some quibbling over the meaning of NY Marine’s use of the word “fundamentally” – that
     argument can be made given the current language of subparagraph 1.10(a)(2)(i), which
     seeks to confirm that the attorney in question “did not substantially participate in the
     same or a substantially related matter.”              Cal. Rules of Prof’l Conduct 1.10(a)(2)(i)
     (emphases added).5 Under that wording, whether or not Travelers has only relied on
     cases dealing with “substantially related matter[s]” is sort of beside the point because the
     “substantially participate” language is not limited only to “substantially related
     matter[s].” It extends to “the same . . . matter.” As Travelers argues in its Opposition,
     “[i]f the Rule was intended to provide for automatic exclusion, there would be no need to
     qualify the level of the lawyer’s prior participation.” Docket No. 108, at 6:13-16.
              Similarly, NY Marine asserts that the statement in Comment [6] to Rule 1.10 that
     “[s]tandards for disqualification, and whether in a particular matter (1) a lawyer’s conflict
     will be imputed to other lawyers in the same firm,* or (2) the use of a timely screen* is
     effective to avoid that imputation, are also the subject of statutes and case law,” with a
     specific citation to Kirk, among other cases, “confirms that Kirk still sets forth the


     5
       “Vicarious disqualification” may indeed still be the “general rule” notwithstanding the language of Rule
     1.10, as NY Marine argues in its Reply, but under the current wording of Rule 1.10, it would appear to take
     a showing of “substantial[] participat[ion]” to reach that “general rule” result. As another way of saying
     the same thing, it may be true, as NY Marine also argues in its Reply, that the fourth factor recognized in
     Comment [1] to Rule 1.10 should be treated as “dispositive” in “switching sides” situations. But the Court
     would still have to wrestle with the “extent” and “materiality” elements reflected in that factor in reaching
     its conclusion. NY Marine’s present showing is insufficient on those topics, even if the Court were
     prepared to treat the factor as potentially dispositive.



                                                           5
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 7 of 12 Page ID #:1685




     relevant law governing” this situation, “requiring disqualification where an attorney
     ‘switches sides’ in the same matter.” Docket No. 109, at 7:8-13. But if that were true,
     again, what is the point of subparagraph 1.10(a)(2)(i) and Comment [1]?6 Certainly,
     recognizing that the topic was also addressed in (or “the subject of”) certain cases is not
     the same thing as noting that those decisions still control on the topic – indeed, such a
     statement would make the question raised in the previous sentence even more pressing.
              As such, while the Court would agree with NY Marine that a “substantial
     relationship” analysis of the type performed in Sierra and Ramos is not required here
     (because here we are concerned with representation in the same matter, not a purportedly
     substantially related one), the pertinent question for the present circumstances – at least
     under the Rules of Professional Conduct – now appears to be: “If you were involved in
     this same matter while at your prior firm, did you ‘substantially participate’ in it?”
     Comment [1] to Rule 1.10 indicates that “expos[ure]” to “confidential information” in
     that prior representation is relevant (and, as NY Marine argues, perhaps should be
     considered dispositive), but the Court is called upon to assess “the extent to which” the
     lawyer in question had such exposure and to ensure that any such confidential
     information is “likely to be material” in this action. It is not clear that the Court can
     meaningfully engage in such an analysis with the information NY Marine has thus far
     provided (no doubt limited in detail due to NY Marine’s reliance upon evidentiary
     considerations that may no longer apply given the current wording of Rule 1.10).
              Perhaps the strongest argument for NY Marine here would be an assertion that,
     whatever Rule 1.10 says, the promulgation of that rule is not binding or precedential in
     any way. This may, in fact, have been what it was attempting to say – particularly by
     way of its reference to Comment [6] to Rule 1.10 – though without coming out and doing
     so directly. The Court has made an effort itself to examine the effect of the Rules of
     Professional Conduct upon prior case law that may not longer be consistent with present
     rule language. The best it has been able to uncover on its own in this regard is the


     6
       In arguing that the rule of “automatic disqualification” still exists, unaffected by current Rule 1.10 in
     situations where an attorney has “switched sides” on the same matter, NY Marine effectively wants it to be
     the case that the direct receipt of any confidential information leads to that result. The Court simply cannot
     square that contention with the language of subparagraph 1.10(a)(2)(i) and Comment [1] to the Rule.



                                                           6
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 8 of 12 Page ID #:1686




     observation that such rules “are disciplinary rules, and merely inform the law controlling
     motions to disqualify,” and that they – or at least their predecessors – “‘are not intended
     to supersede existing law relating to . . . motion[s] for disqualification of counsel due to
     conflict of interest.’” Image Tech. Servs., Inc. v. Eastman Kodak Co., 820 F.Supp. 1212,
     1215 n.6 (N.D. Cal. 1993) (quoting Discussion to Rule 1-100 of California Rules of
     Professional Responsibility). But is this still the current view of the effect/impact of
     professional conduct rules in California? There is a hole in the parties’ briefing in this
     regard.     The Court is therefore left struggling with what to do with current Rule
     1.10(a)(2)(i).
               If it is still possible that Chipman did not “substantially participate” in this matter
     for NY Marine while at the McCormick Firm – and NY Marine has not, thus far,
     demonstrated otherwise7 – the only other8 question germane under Rule 1.109 with
     respect to whether Counsel must be disqualified because of Chipman’s present
     employment by the Maynard Firm is whether Chipman was “timely screened from any
     participation in the matter and is apportioned no part of the fee therefrom.” Cal. Rules of
     Prof’l Conduct 1.10(a)(2)(ii). In truth, what this comes down to is whether he was
     “timely screened” because Chipman, an Associate at the Maynard Firm, is paid via a
     salary and bonus structure, with no compensation from the firm directly related to this


     7
       Even assuming – despite the fact that this is NY Marine’s motion – that it is Traveler’s burden to
     demonstrate applicability of the exception resident in subparagraph 1.10(a)(2), Travelers’ submission thus
     far supports a conclusion that Chipman – a junior associate with apparently very little time spent on this
     matter, exposure to the client itself only by way of a group dinner out at a restaurant, and an “exposure to
     confidential information” lacking almost entirely in detail – did not “substantially participate” in
     representing NY Marine in this matter when he worked for the McCormick Firm. NY Marine’s evidence
     to the contrary does not convincingly demonstrate otherwise, at least based upon the level of detail it has
     provided to this point.
     8
      There appears to be no issue here with respect to whether NY Marine was “promptly given” “written
     notice” of the type required by Rule 1.10(a)(2)(iii) in the form of Counsel’s March 9 letter.
     9
       Under the California case law – with the exception of Sierra and Ramos which, as noted supra, both
     involved “substantial relationship” situations, not “switching sides” situations – NY Marine cited (before
     Travelers raised the issue of Rule 1.10 in its Opposition), efforts by the Maynard Firm to screen Chipman
     from involvement in this matter on Travelers behalf would be irrelevant. Even were such efforts relevant,
     however, NY Marine also cites case law indicating that any such screening would have had to begin at the
     outset of the second firm’s hiring of the “tainted” lawyer. Here, the evidence suggests that a proper screen
     was not implemented until sometime after March 2, 2023, at the earliest, in response to the McCormick
     Firm’s March 2 letter to the Maynard Firm complaining about the Maynard Firm’s representation of
     Travelers in this matter. See Wagoner Decl., ¶ 13 & Exh. 3.



                                                           7
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 9 of 12 Page ID #:1687




     action.     See Declaration of Nicholas J. Boos in Support of Travelers Commercial
     Insurance Company’s Opposition to Motion to Disqualify (“Boos Decl.”), Docket No.
     108-2, ¶ 8.
               Can the Maynard Firm satisfy Rule 1.10(a)(2)(ii)’s requirement that the attorney
     in question be “timely screened,” however? Travelers argues that a screen must be
     created “as soon as the conflict was revealed,” citing Export-Import Bank of Korea v. ASI
     Corp., No. CV162056MWFJPRX, 2019 WL 8200603, at *10 (C.D. Cal. Jan. 16, 2019).
     Meanwhile, NY Marine insists that the screening must take place beginning at or before
     the moment the second firm’s representation begins. Here, Counsel began discussing
     representation with Travelers on February 17, 2023, Boos spoke with Chipman on
     February 18, 2023, in an attempt to determine whether there was a conflict, and Boos
     formally substituted-in on February 28, 2023. See Boos Decl., ¶¶ 3-4; Docket No. 104.
               If Rule 1.10 is controlling as to how the analysis is to proceed, the Court’s initial
     reaction would be to question why the timeliness of any screening would precede a time
     at which it is determined – or is at least asserted – that the lawyer in question
     “substantially participate[d]” in the matter while at his or her prior firm? In other words,
     while it might make sense to equate a “timely screening” with the beginning of
     representation under a prior approach that did not look to “substantial participation”
     because that approach was more black-and-white, where a “grey area” has been inserted
     into the calculus via the “substantial participation” calculation, can/should we still have a
     black-and-white timing determination tied to the beginning of representation?10 The
     Court cannot think of any obvious reason why we should.
               According to NY Marine, it should have been apparent to the Maynard Firm prior



     10
        The Court may share with NY Marine certain concerns about whether the current language of
     subparagraph 1.10(a)(2) represents a wise development in the law. See, e.g., Docket No. 109, at 14-15 n.6.
     One particular issue that raises some concern for the Court under the Rule is how the “substantially
     participate” determination is to be made upon attorneys moving firms. At least in terms of analysis of the
     issue at the new firm consistent with the factors recited in Comment [1], the determination will presumably
     have to be made solely by the attorney who himself/herself is prohibited from representation under Rule
     1.9; otherwise, confidential material may be disclosed to the new firm simply in the process of determining
     whether a firm-wide prohibition/disqualification is appropriate/necessary. But in determining what
     information is “likely to be material in the current matter,” would that same attorney not also have to be
     somewhat familiar with the thoughts/plans/objectives underlying his new firm’s handling of the matter?
     Would this be consistent with his/her or the new firm’s ethical obligations, and could it be accomplished if
     a screen is (or is to be) implemented? In at least this Court’s view, there is much uncertainty here.


                                                          8
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 10 of 12 Page ID #:1688




     to undertaking its representation of Travelers here that a screen was necessary at least
     with respect to Chipman’s participation in representing Travelers in this matter because
     Chipman was himself disqualified from such representation via the terms of Rule 1.9(a).
     But that would require knowledge on the part of the Maynard Firm that Chipman had
     represented Travelers in this action while at the McCormick Firm, and the evidence
     indicates that the Maynard Firm had no such knowledge as of the onset of the Maynard
     Firm’s representation of Travelers in this matter.       See Declaration of Matthew A.
     Chipman in Support of Travelers Commercial Insurance Company’s Opposition to
     Motion to Disqualify, Docket No. 108-1, ¶¶ 8-9; Boos Decl., ¶¶ 3-4.
            Yet, with the exception of a single comment in a single case that does not actually
     mention or cite Rule 1.10, what limited case law there is on the subject supports NY
     Marine’s position. Post-2018 case law applying the “timely screened” provision of Rule
     1.10 relies on Kirk’s statement that “[a] firm must impose screening measures when the
     conflict first arises,” Klein v. Facebook, Inc., No. 20-CV-08570-LHK, 2021 WL
     3053150, at *7 (N.D. Cal. July 20, 2021) (quoting Kirk, 183 Cal.App.4th 776, 810
     (2010)), while simultaneously stating that “‘screening should be implemented before
     undertaking the challenged representation or hiring the tainted individual’” and
     “‘[s]creening must take place at the outset to prevent any confidences from being
     shared,’” id. (quoting In re Complex Asbestos Litig., 232 Cal.App.3d 732, 745 (1991)).
     Sierra follows that approach too (though without citing Rule 1.10). See Sierra, 2022 WL
     4454359, at *4 (focusing on screening “when the conflict first arises,” that it “should be
     implemented before undertaking the challenged representation or hiring the tainted
     individual” and “must take place at the outset”). Though it places emphasis on post-2018
     case law (including Klein) where it believes such law suits it, Travelers ignores Klein’s
     treatment of the “timely screening” obligation. See Docket No. 108, at 11:20-13:17.
            It is true that, in Export-Import Bank of Korea, a Central District court –
     considering a different professional conduct rule imposing a “timely screened”
     requirement – asserted that “two elements are necessary and must be present to find a
     screen effective,” with one of those elements being that “the screen was imposed as soon
     as the conflict was revealed.” No. CV 16-2056-MWF (JPRx), 2019 WL 8200603, at *10
     (C.D. Cal. Jan. 16, 2019). Of course, this does not clarify the implicit issue of revealed to


                                                   9
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 11 of 12 Page ID #:1689




     whom? But putting aside that potential criticism of the perceived requirement’s phrasing,
     reading it to excuse a delay in screening would benefit attorneys who keep such conflicts
     under wraps, either purposefully or negligently, to the detriment of clients whose
     confidences are at the risk of exposure. Moreover, as NY Marine notes in its Reply, that
     same court ultimately recognized that “[c]ourts routinely disqualify counsel for failing to
     implement ethical screens before representing a prospective client.” Id. at *11.
             While the Court believes that it may be exceedingly difficult for a law firm to
     know (though it is the whole purpose of a conflicts-check process), for certain, that one
     of its attorneys represented a prospective new client in the same matter, let alone whether
     he or she “substantially participated” in that (or a “substantially related” matter), perhaps
     especially when the attorney in question professes to his or her new employer to have not
     done so, the Court concludes that the risk of such uncertainty (or nondisclosure) must fall
     on the attorney’s new firm rather than the prior client whose confidences suffer the threat
     of disclosure, actual or imputed.       This is consistent with the concept, frequently
     mentioned in the context of disqualification motions, that preservation of client
     confidences and maintenance of public trust in the administration of justice and integrity
     of the bar are paramount interests.      Although there are of course also interests in
     protecting a client’s choice of counsel and an attorney’s decision to represent a client,
     without the fundamental concern about preserving client confidences this whole area of
     case law has little reason to exist.
             In the end, therefore, while the Court believes that Travelers is likely correct – or
     at least NY Marine has failed to convince the Court that Travelers is not correct – that the
     language of Rule 1.10 makes a difference in how the law is to be applied in California
     even in cases involving “switching sides,” the “timely screening” concept that still
     applies in order to prevent disqualification of an attorney’s new firm under Rule 1.10 still
     requires implementation of screening at or before the time a new representation coincides
     with the employment of an individual attorney who is precluded from representation
     under Rule 1.9. Here, that did not occur. Instead, efforts to effectively screen Chipman
     did not occur until sometime after the McCormick Firm alerted the Maynard Firm to the
     perceived problem by way of its March 2, 2023 letter.
             As a result, putting aside the question of whether or not Chipman substantially


                                                  10
Case 2:21-cv-05832-GW-PD Document 113 Filed 05/10/23 Page 12 of 12 Page ID #:1690




     participated in representing NY Marine while he worked at the McCormick Firm, the
     exception to imputed disqualification of the Maynard Firm in its entirety that might have
     been available under the terms of Rule 1.10(a)(2) is not applicable here. Consequently,
     the Court believes that it must exercise its discretion on this matter by granting NY
     Marine’s motion and disqualifying Counsel.11




     11
        The Court easily rejects Travelers’ last argument that the Court should deny the motion because the
     motion is purely tactical, or brought in bad faith. NY Marine became aware that the Maynard Firm would
     be representing Travelers in this matter on February 28, 2023, when the Maynard Firm substituted-in as
     counsel. After attempting to informally address the matter with the Maynard Firm, NY Marine filed this
     motion on April 10. The motion revealed as much information about Chipman’s work at the McCormick
     Firm as appear to be required under California law (or at least under pre-Rule 1.10 law), in an effort to not
     disclose material or information that NY Marine is attempting to protect from disclosure – due to the
     attorney in question’s current employment with the Maynard Firm – by way of this very motion. In short,
     the Court sees no cause whatsoever to be concerned that the instant motion is purely-tactical or brought in
     bad faith.


                                                           11
